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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MISSOURI
                             EASTERN DIVISION

UNITED STATES OF AMERICA,                                              )
                                                )
                      Plaintiff,                )
                                                )
v.                                              )   No. 4:19 CR 196 RLW (NAB)
                                                )
MARLON MITCHELL, a/k/a “Squeeky,”               )
                                                )
                                                )
                      Defendant.                )

                 MOTION FOR PRETRIAL DETENTION AND HEARING

     Comes now the United States of America, by and through its Attorneys, Jeffrey B. Jensen,

United States Attorney for the Eastern District of Missouri, Jeannette S. Graviss, Assistant United

States Attorney for said District, and moves the Court to order defendant detained pending trial,

and further requests that a detention hearing be held three (3) days from the date of defendant's

initial appearance before the United States Magistrate pursuant to Title 18, United States Code,

'3141, et seq.

     As and for its grounds for detention, the government requests this Court to consider the

following factors pursuant to Title 18, United States Code, Section 3142(g)(1), (2), and (3):

                                        Presumption of Detention

     1. The defendant is charged with an offense for which a maximum term of imprisonment of

forty years is prescribed in the Controlled Substances Act Title 21, United States Code, Section

801, et seq.), Count I, conspiracy to possess with the intent to distribute one hundred grams or

more of a mixture or substance containing a detectable amount of phencyclidine, and Counts III

and IV, distribution of cocaine base.

     2. Accordingly, a rebuttable presumption arises, pursuant to Title 18, United States Code,

Section 3142(e)(3), that there are no conditions or combination of conditions which will

reasonably assure the appearance of the defendant as required, and the safety of any other person

and the community.
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                            The Nature and Circumstances of the Offense

     3.    The defendant maintains narcotics in his home at 4428 Aldine and supplies a group of

individuals who are distributing narcotics in the Ville neighborhood in the City of St. Louis.

Several confidential sources have said that the group recently moved their operations to the 4200

block of Cote Brilliante and since that time there has been a significant increase in violence on the

4200 block of Cote Brilliante and surrounding area.

                         The Weight of the Evidence Against the Defendant

     4.       Agents with the Federal Bureau of Investigation received information from a

confidential source that the defendant was storing large quantities of phencyclidine and cocaine

base inside 4428 Aldine.

     5.    The defendant told the CS that he had a Puerto Rican source of supply in Kansas City

and that he had people drive to Kansas City to pick up PCP.

     6.    On February 11, 2019, the CS purchased crack from the defendant at 4428 Aldine and

observed approximately 2 to 3 ounces of crack inside the house. The CS has also observed the

defendant with a firearm inside the house at 4428 Aldine.

     7.    Agents captured videotape of the defendant packaging cocaine base while sitting at his

kitchen table on February 20, 2019.

     8.    On February 25, 2019, the CS purchased crack from the defendant at 4428 Aldine.

     9.     On March 12, 2019, a search warrant was executed at the defendant’s home and

investigators located and seized a shotgun and a revolver.

                           The History and Characteristics of the Defendant

     10.   On or about October 3, 1994, the defendant was convicted of possession of a controlled

substance in the City of St. Louis, State of Missouri in cause number 931-3483.
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     11.      On or about October 17, 2007, the defendant was convicted of possession of a

controlled substance in the City of St. Louis, State of Missouri in cause number 22051-2378-01.

                   The Nature and Seriousness of the Danger to the Community

     12.    The defendant was distributing PCP and cocaine base, extremely dangerous drugs.

     13.   The defendant possessed a firearm during the time that he was distributing those drugs.

     14.    The defendant is closely associated with an is providing narcotics to individuals who

are routinely carrying firearms and selling PCP in the 4200 block of Cote Brilliante.

     15.    A pole camera placed in the 4200 block of Cote Brilliante has documented numerous

shootings in the area since October 2018. Coconspirators and unindicted coconspirators are

depicted on camera openly carrying firearms and shooting those firearms.

     16.    There are no conditions that would ensure the safety of the community in light of the

extreme violence that has surrounded this group of individuals selling drugs in the Ville.

                                              Risk of Flight

     17.     Notwithstanding the defendant’s apparent ties to the community, there is a risk that

the defendant will flee because he is facing a significant prison sentence in this case.
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     WHEREFORE, the government requests this Court to order defendant detained prior to

trial, and further to order a detention hearing three (3) days from the date of defendant's initial

appearance.

                                                       Respectfully submitted,

                                                       JEFFREY B. JENSEN
                                                       United States Attorney

                                                         /s/ Jeannette S. Graviss       _________
                                                       JEANNETTE S. GRAVISS, #44483MO
                                                       Assistant United States Attorney
